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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
219 SOUTH DEARBORN STREET
CHICAGO ILLINOIS 60604

 

MICHAEL W. DOBBINS OFFICE OF THE CLERK
Clerk of Court
January 14, 2009

United States Courthouse
131 East Fourth Street
Davenport, IA 52801-1516

Re: USA v. Christopher McGee
Case: 09cr4-1

Dear Clerk of Court:

Enclosed please find the certified copy of the docket entries in connection with removal proceedings
conducted in this District regarding the above named defendant.

As of January 18, 2005 for civil and criminal cases, our court uses electronic case filing. You may access
our electronic case file and print copies of electronically filed documents by following the procedures on
the attached Instruction Sheet. You will need Adobe Acrobat reader loaded on your computer in order
to view the documents. If you are an electronic court, you may upload the documents. Please DO NOT
MAKE THE ENCLOSED INSTRUCTION SHEET A PART OF THE OFFICIAL RECORD
as it contains your login and password to our system. This login and password should not be shared with
anyone other than federal court personnel who would have a need to access our electronic case file
system.

All documents filed prior to electronic filing are included in this transfer package.

Subsequent paper documents filed after 1/18/05 are also included:
(List document numbers)

Please acknowledge receipt of the above documents on the enclosed copy of this letter.

Sincerely yours,

Michael W. Dobbins, Clerk

by:
/s/ Ellencre Duff, Deputy Clerk
